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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


    UNITED STATES OF AMERICA                   :      CRIMINAL NO. 1:16-CR-082-03
                                               :
                                               :      (Judge Kane)
                                               :
                    v.                         :
                                               :
    SCOTT LANE,                                :
                           Defendant           :



                                              ORDER

                    AND NOW, this 7th day of February, 2018, IT IS ORDERED that

Sentencing for Defendant, Scott Lane, is RESCHEDULED to June 12, 2018 at 10:00 a.m.

The sentencing will be held in Courtroom No. 4, Eighth Floor, Federal Building, Harrisburg,

Pennsylvania.




                                             s/ Yvette Kane
                                             YVETTE KANE, District Judge
                                             United States District Court
